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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
JOHN A. SCATCHELL,                                   )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )      Case No: 20 CV 1045
                                                     )
VILLAGE OF MELROSE PARK, an Illinois                 )      Honorable Gary Feinerman
Municipal Corporation, MELROSE PARK BD               )
OF FIRE AND POLICE COMM’N, RONALD                    )
SERPICO, SAM PITASSI, MICHAEL                        )
CASTELLAN, PETER CAIRA,                              )
                                                     )
                              Defendants.            )
                        DEFENDANTS’ MEMORANDUM OF LAW
                      IN SUPPORT OF JOINT MOTION TO DISMISS

       NOW COME Defendants Village of Melrose Park and its Board of Fire and Police

Commissioners, Mayor Ronald Serpico, Director of Police Sam C. Pitassi, Deputy Chief of

Police Michael Castellan, and Ofc. Peter Caira, and submit this memorandum of law in support

of their joint motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).
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                                          INTRODUCTION

         John Scatchell was fired as a Melrose Park police officer for serious misconduct,

including assisting a known convicted felon in the possession and firing of a firearm, dishonesty,

and insubordination. The termination was upheld on administrative review and on appeal in state

court. Despite the finality of his termination, Scatchell wants another bite at the apple. He filed

the present federal civil rights case alleging that his termination violated his constitutional and

statutory rights. He could and should have timely filed these claims in his state court case but

chose instead to split his claims. Now that his termination is final and conclusive, he must suffer

the consequences of that decision. Namely, his suit is barred under the doctrines of claim and

issue preclusion. Alternatively, even if some or all of his suits are not precluded, it should still be

dismissed for failure to state plausible claims.

                                         STATEMENT OF FACTS1

    I.      Parties

         Plaintiff John Scatchell was a police officer employed by the Village of Melrose Park

(“Melrose Park”) (Compl., d/e #1-1, ¶ 7, attached hereto as Exhibit A). Defendant Melrose Park

was Scatchell’s employer. Id. at ¶ 8. The Defendant Board of Fire and Police Commissioners

(“BOFPC”) is a three-member administrative body. Id. at ¶ 10. The individual Defendants are

Mayor Ronald Serpico, Director of Police Sam Pitassi, former Deputy Chief of Police Michael

Castellan, and investigator Peter Caira. Id. at ¶¶ 12-14.




1
  The Statement of Facts is based on allegations in Scatchell’s Complaint as well as pleadings from the
state court termination case. This Court may consider documents at the motion to dismiss stage if those
documents are “referenced in the plaintiff’s complaint and central to his claim.” Wright v. Assoc. Ins. Co.
Inc., 29 F.3d 1244, 1248 (7th Cir. 1994). This Court may also take judicial notice of publicly filed court
documents in deciding a motion to dismiss. See Olson v. Champaign County, 784 F.3d 1093, 1097, n. 1
(7th Cir. 2015).
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   II.      BOFPC Termination Charges, Proceedings, Findings and Decision

         On October 28, 2017, Scatchell aggravated a prior on-duty neck and back injury. Id. at ¶

54. His physician recommended that he stay home from work and rest due to the nature and

demands of his job as a police officer. Id. at ¶ 56. He went on sick leave as of November 9, 2017.

Id. at ¶ 57. On November 13, 2017, an anonymous person slid a letter under Castellan’s office

door reporting that Scatchell was abusing the department’s sick leave policy by going hunting

every morning. Id. at ¶ 60. Pitassi and Castellan assigned Caira to investigate. Id. at ¶ 62. Based

on that investigation, as well as an internal affairs interrogation of Scatchell, Pitassi and

Castellan filed a 12-count Statement of Charges against Scatchell and brought it before the

BOFPC seeking his termination (Id. at ¶ 80; Disciplinary Charges, attached hereto as Exhibit B).

         On December 6, 2018, after holding a multi-day evidentiary hearing, the BOFPC found

that Scatchell violated the department’s sick leave policy by engaging in a hobby or recreational

activity which could impede recovery from his injury (BOFPC Findings and Decision, ¶ 7,

attached hereto as Exhibit C). Specifically, the BOFPC cited the testimony of Scatchell’s expert

who admitted that Scatchell violated the sick leave policy, and the testimony of his doctor who

prescribed rest and testified that Scatchell reported considerable pain and numbness after the

hunting activity. Id. at ¶ 7. The BOFPC also found that Scatchell violated department policy by

failing to report that he had gone hunting with a known convicted felon (Vito Scavo) and by

failing to report that he had contact with a Department of Natural Resources (DNR) officer

during the hunting trip. He also lied during the interrogation about his hunting activities and

medical treatment and further lied to the DNR agent about whether Scavo had fired his shotgun.

The BOFPC found that he had engaged in conduct unbecoming an officer, assisted Scavo in

possessing and firing a shotgun, and accepted employment with Scavo’s hunting guide business



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without seeking approval. Finally, he disobeyed Castellan’s direct order to answer questions at

the BOFPC hearing and unjustifiably asserted the 5th Amendment privilege against self-

incrimination despite being given Garrity2 warnings. Id. at ¶¶ 8-10, 14-15, 17. Based on the

above findings, the BOFPC found that sufficient cause existed for Scatchell’s termination. Id. at

p. 7.

     III.      State Court Administrative Review Case

            On December 31, 2018, Scatchell filed a Verified Complaint for Judicial Review and

Declaratory Relief, seeking statutory administrative review of the termination decision and other

relief against the BOFPC, Melrose Park, Pitassi, Castellan, and members of the BOFPC (Admin

Review Compl., Case No. 2018 CH 16150, attached hereto as Exhibit D).3 Scatchell claimed that

the termination decision was against the manifest weight of the evidence and violated his Fifth

Amendment right against self-incrimination and Fourteenth Amendment Due Process rights. He

also cited violations of various Illinois statutes and claimed that the decision was arbitrary and

capricious and that there was insufficient cause for the termination (Id.).

            On December 15, 2020, a Cook County Circuit Court judge affirmed the termination

decision (Termination Order, 12/15/20, attached hereto as Exhibit E). The court rejected



2
  A Garrity warning is a form of immunity from criminal prosecution for statements given by a police
officer being investigated for misconduct by his employer. See Garrity v. New Jersey, 385 U.S. 493 (1967).
3
  This is by no means Scatchell’s only suit relating to his termination. He filed an action (now dismissed)
in the Circuit Court of Cook County under Illinois Supreme Court Rule 224 seeking discovery relating to
the investigation concerning his misconduct (Cook County Case No. 2018L001743). He also filed an
action, again in Cook County, seeking to enjoin the Melrose Park Board of Fire and Police
Commissioners from proceeding with charges against him (Cook County Case No. 2018CH07685). The
circuit court held that the BOFPC had jurisdiction, and the Illinois Appellate Court affirmed. Scatchell v.
Village of Melrose Park, et al., 2020 IL App (1st) 191414-U, attached hereto as Exhibit F. He also
attempted to join a federal lawsuit filed by his father, a retired Melrose police lieutenant, making the same
allegations alleged in the present case. That request was denied. Scatchell v. Village of Melrose Park, et
al., Case No. 18CV3989, Dkt. #35, attached hereto as Exhibit G.


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Scatchell’s argument that the BOFPC could not use his refusal to testify as a basis for the firing

and therefore found that the BOFPC did not violate his 5th Amendment rights. Id. at p. 4-5.

Furthermore, even without Scatchell’s testimony, the court found there was sufficient evidence

supporting termination. Id. at p. 5. The court ruled that the BOFPC’s findings were not against

the manifest weight of the evidence and were indeed well supported by the evidence. Id. Given

Scatchell’s severe misconduct in going hunting while on sick leave and engaging in a business

with firearms with a convicted felon without notifying his superiors, the court found termination

was a permissible sanction (Id.). The court also rejected a phalanx of other claims leveled by

Scatchell (Id at. p. 6).

          The court also denied Scatchell’s motion for leave to file an amendment to his

administrative law complaint (Order Denying Amendment, 12/15/20, attached hereto as Exhibit

H). The proposed amendment sought to add federal civil rights and other claims and further

proposed naming Serpico and Caira as additional defendants. Id. at ¶ 4. The court ruled that

Scatchell’s motion was untimely because it was filed after the briefing on the administrative

review and related counts. Id. at ¶ 6. The court also found that Scatchell knew about his federal

civil rights claims at the time he filed his original suit on December 31, 2018, yet “did not

attempt to file the new claims in this case until the existing issues were briefed and awaiting

argument.” (emphasis supplied). Id. The court concluded that “[to] open up the case to new

parties, claims, and arguments at this late stage would prejudice the existing Defendants.” Id.

    IV.      Appeal of the State Court Termination case

          The Illinois Appellate Court affirmed the circuit court’s termination decision, finding that

the BOFPC’s factual findings as seven of the eight counts were not against the manifest weight

of the evidence. See Scatchell v. Bd. of Fire and Police Commissioners, et al., 2022 IL App (1st)



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201361, ¶¶ 39-83, attached hereto as Exhibit I. The Appellate Court also found there was ample

evidence supporting just cause for the termination and rejected Scatchell’s various constitutional

and state law challenges to his termination. Id. at ¶¶ 95-129.

        The Appellate Court also affirmed the lower court’s decision denying Scatchell’s motion

to file an amended complaint. Id. at ¶¶ 130-142. The Court stated that the complaint for

administrative review was filed in December 2018 and was fully briefed by December 2019, but

Scatchell waited until March 2020 to seek leave to file the amendment. Id. at ¶ 131. The Court

cited the multiple lawsuits that Scatchell had filed relating to his termination, which, in the

Court’s view, demonstrated that he knew about his claims of retaliation and bias as early June of

2018 yet waited nearly two years to seek an amendment in his administrative review case. Id. at

¶¶ 136-138. The Appellate Court also emphasized, correctly, that “Scatchell could [and should]

have “made this administrative review action his original forum for raising these claims. He

could have raised them when he filed his original administrative-review complaint. *** But he

did not.” Id. at ¶ 140. The Appellate Court concluded that the trial court, therefore, did not abuse

its discretion in finding the proposed amendment untimely. Id. at ¶ 142.

        Scatchell filed a petition for leave to appeal to the Illinois Supreme Court. The Supreme

Court denied that petition on September 25, 2023. See Scatchell v. Village of Melrose Park, et

al., 159 N.E.3d 972 (Table), 2023 IL 6439445, attached hereto as Exhibit J.

   V.      Federal Court Case

        Scatchell’s federal complaint arises out of the same factual background as his failed state

court cases. He claims that he was unlawfully investigated, charged, and terminated in retaliation

for his association with his father, a retired Melrose Park police lieutenant, who allegedly spoke




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out about alleged discriminatory police practices and brought his own federal lawsuit in 2018.4

Scatchell (junior) challenged the propriety of Defendants’ internal investigation into his

misconduct, the filing of the disciplinary charges, and the BOFPC’s evidentiary hearing, findings

of fact, and termination decision (Exhibit A, Compl., ¶¶ 52-129). He brings claims under 42

U.S.C. § 1983 and the Fourteenth Amendment, 42 U.S.C. 2000(e) (Title VII), and other federal

and state laws (Compl., ¶¶ 138-198). He seeks reinstatement and monetary and non-monetary

relief all stemming from his alleged wrongful termination (Compl., ¶¶ 130-137).

                   LEGAL STANDARD FOR RULE 12(B)(6) MOTION TO DISMISS

          Every complaint must “‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

A complaint that does not “fails to state a claim on which relief may be granted.” Fed. R. Civ.

Proc. 12(b)(6). The court should accept all well-pleaded facts as true. Twombly, 550 U.S. at 556.

But this presumption of truth does not apply to legal conclusions masquerading as facts. Iqbal,

556 U.S. at 678. Thus, “labels and conclusions” or “a formulaic recitation of the elements of a

cause of action will not do.” Twombly, 550 U.S. at 555. Ultimately, if a complaint “pleads facts

that are ‘merely consistent with’ a defendant’s liability,” it fails to cross the “plausibility”

threshold and should be dismissed. Iqbal, 556 U.S. at 678 (quoting Twombly 550 U.S. at 557)).

          A litigant may raise claim and issue preclusion in a motion to dismiss. See Rodriguez v.

Ramsey, Case No. 03 C 3930, 2007 WL 141910, *6 (N.D. Ill. 2007). Preclusion is an affirmative

defense that can be raised in a motion to dismiss “where there are no relevant facts in dispute and

what happened in state court is subject to judicial notice.” Id.




4
    See Scatchell v. Village of Melrose Park, et al., Case No. 18CV3989 (pending before Judge Kness).

                                                     6
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                                                ARGUMENT

    I.      SCATCHELL’S ENTIRE FEDERAL SUIT IS BARRED BY CLAIM
            PRECLUSION
         Scatchell filed two suits over the same alleged injuries. He split his claims between the

state and federal case, and now essentially wants to relitigate his failed attempt to overturn his

termination. As succinctly stated by the Seventh Circuit:

         This court deprecates the practice of filing two suits over one injury--often with
         an argument based on state law presented to a state court, and an argument arising
         under federal law presented to a federal court. Multiplication imposes needless
         costs on one's adversary, on the judicial system, and on other litigants, who must
         endure a longer queue. Plaintiffs hope that more suits will improve their chances:
         they seek the better of the outcomes. To discourage the tactic, judges award
         plaintiffs not the better outcome but the first outcome: whichever suit goes to
         judgment first is dispositive, and the doctrine of claim preclusion (res judicata)
         requires the other court to dismiss the litigation.

Rogers v. Desiderio, 58 F.3d 299, 300 (7th Cir. 1995) (citations omitted). Federal courts have

consistently applied state res judicata law against federal civil rights plaintiffs. Allen v. McCurry,

449 U.S. 90, 94 (1980). In determining whether a federal claim is precluded by a prior state court

judgment, a two-pronged analysis is required: (1) whether res judicata is applicable under state

law; and (2) whether the plaintiff had a full and fair opportunity in the state court proceeding to

litigate his claims. Kremer v. Chem. Const. Corp., 456 U.S. 461, 466 (1982).

         A. Illinois claim preclusion (res judicata) law bars Scatchell’s federal suit.

         Claim preclusion, also called res judicata, bars litigants from relitigating claims that were

or could have been litigated during an earlier case. Allen v. McCurry, 449 U.S. 90, 94 (1980);

Hayes v. City of Chicago, 670 F.3d 810, 813 (7th Cir. 2012). Whether claim preclusion applies is

a matter of Illinois law. Id. at 96. Under Illinois law, a claim is precluded when there is: (1) a

final judgment on the merits rendered by a court of competent jurisdiction; (2) an identity of

cause of action; and (3) an identity of parties or their privies. Hayes, id.; Licari v. City of


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Chicago, 298 F.3d 664, 666 (7th Cir. 2002); Garcia v. Vill. of Mount Prospect, 360 F.3d 630, 636

(7th Cir. 2004). The doctrine applies not only to matters actually litigated in the prior suit but to

every other matter that might have been raised and determined by it. Durgins v. City of East St.

Louis, 272 F.3d 841, 843 (7th Cir. 2001). The doctrine applies to claims brought under Section

1983 and Title VII. Lee v. City of Peoria, 685 F.2d 196, 198 (7th Cir. 1982); Pirela v. Village of

North Aurora, 935 F.2d 909, 911 (7th Cir. 1991); Franklin v. City of Chicago Police Dept., No.

02 C 3354, 2004 WL 1921027, *2 (N.D. Ill. July 9, 2004).

       1. The state court case ended in a final judgment on the merits.

       For claim preclusion to apply, the prior decision must have been a final judgment on the

merits rendered by a court of competent jurisdiction. Licari, 298 F.3d at 666. Under Illinois law,

“[a]n order is final if it terminates litigation between the parties on the merits or disposes of

rights of parties, either on the entire controversy or on a separate branch thereof.” Grove v. Carle

Foundation Hosp., 364 Ill. App.3d 412, 416 (4th Dist. 2006). Clearly, Scatchell’s state court case,

affirmed on appeal, is a final judgment on the merits.

       Likewise, an order denying Scatchell’s untimely motion to amend his state lawsuit is also

a final decision on the merits. Grove, 364 Ill. App.3d at 417. “A decision may be ‘on the merits’

for purposes of preclusion even though the court did not resolve the merits.” See Am. Nat’l Bank

& Trust Co. v. City of Chicago, 636 F. Supp. 374 (N.D. Ill. 1986) (hereinafter “Am. Nat’l Bank

I”) affirmed by Am. Nat’l Bank & Trust Co. v. City of Chicago, 826 F.2d 1547, 1553 (7th Cir.

1987). A “decision is on the merits … for purposes of preclusion when the litigant had an

opportunity to receive an adjudication from that court.” Id. The fact that Scatchell “bollixed his

opportunity” by moving to amend his suit too late does not justify exposing Defendants to

another round of litigation. Id; See, also, Rodriguez v. Ramsey, Case No. 03 C 3930, 2007 WL



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141910, *3 (N.D. Ill. 2007) (holding that dismissal of administrative review suit “for

untimeliness is a final adjudication of the merits because the litigant had the chance to make its

case but failed to do so.”).

        2. There is identity between causes.

        The Illinois Supreme Court has adopted the transactional approach to determine whether

there is identity of claims for purposes of res judicata. Hayes, 670 F.3d at 813 (citing, River

Park, Inc. v. City of Highland Park, 184 Ill.2d 290 (1998)). Under that approach, identity of

causes exists if a single group of operative facts gave rise to the claims and is related in time,

space, origin, and motivation. Hayes, id.; Garcia v. Vill. of Mount Prospect, 360 F.3d 630, 636

(7th Cir. 2004). “Even though one group of facts may give rise to different claims for relief upon

different theories of recovery, there remains a single cause of action.” Lee, 685 F.2d at 200. If the

same facts are essential to both proceedings, there is identity between the allegedly different

causes of action asserted and res judicata bars the latter. Id. Further when “the same action is

charged as both retaliation and discrimination, the evidentiary overlap is so extensive that the

plaintiff is forbidden to make each the subject of a separate suit.” Manicki v. Zeilmann, 443 F.3d

922, 926 (7th Cir. 2006).

        Illinois treats constitutional and non-constitutional arguments as a single claim, and slight

variations in the relief requested do not authorize multiplication of lawsuits. Davis v. City of

Chicago, 53 F.3d 801, 802 (7th Cir. 1995). A failed administrative review action forecloses any

later action in federal court arising out of the same transaction. Durgins, 272 F.3d at 843.

Therefore, after review of an administrative decision, the reviewing court’s judgment is res

judicata as to all issues raised before it, and all issues, which could have been raised before it on

the record but were not, are deemed waived. Bagnola v. City of Chicago, No. 96 C 6342, 1997



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WL 106126, *3 (N.D. Ill. Feb. 12, 1997). “Once a transaction has caused injury, all claims

arising from that transaction must be brought in one suit or be lost.” King v. City of Chicago,

No. 02 C 2608, 2004 WL 395211, *4 (N.D. Ill Feb. 3, 2004) quoting William Anderson v.

Chrysler Corp., 99 F.3d 846, 852 (7th Cir. 1996).

        A comparison of Scatchell’s state case with his present federal action shows that they are

based on the same nucleus of operative facts. In both cases, he alleged that he was wrongfully

investigated, charged, and terminated. The two suits are related in time, space, origin, and

motivation, and the underlying “transaction” - the investigation, charges, and termination – is the

same. See Hayes, 670 F.3d at 814 (holding that a police officer’s Title VII claim involved the

same set of operative facts as his claim before the police board who terminated him). Scatchell

could have argued in state court that his termination was retaliatory in violation of his

constitutional or other statutory or common law rights. He could have joined (and in fact

attempted to do so, albeit too late) all his present claims in the state court suit. Durgins, 272 F.3d

at 843 (holding that res judicata barred federal suit brought by terminated police officer because

she “could have presented all of her theories – evidentiary, statutory, and constitutional – to state

court and obtained a decision in one consolidated proceeding.”). His failure to do so bars his

present suit in its entirety.

        3. There is identity of parties or their privies.

        As stated above, the third element of res judicata is identity of parties or their privies.

Licari, 298 F.3d at 666. Strict identity of parties is not necessary for a finding of privity.

Donovan v. Estate of Fitzsimmons, 778 F.2d 298, 301 (7th Cir. 1985). Privity exists between two

parties who adequately represent the same or similar legal interests. Id.; see Dyer v. Lumpkin,

No. 01 C 1691, 2002 WL 31056705, *4 (N.D. Ill. Sept. 13, 2002). “[T]he parties must be so



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closely aligned that they represent the same legal interest.” Little v. Tapscott, No. 01 C 9738,

2002 WL 1632519, *5 (N.D. Ill. 7/23/02) (citing Kunzelman v. Thompson, 799 F.2d 1172, 1178

(7th Cir. 2002)). The identity of the interest controls in determining privity, not the nominal

identity of the parties. Dyer, 2002 WL 31056705 at *4 quoting Schnitzer v. O’Connor, 274 Ill.

App. 3d 314, 318 (1995). “The modern trend is to expand the scope of res judicata to bind

persons whose interests are so wedded to those of existing parties that it would be a waste of

judicial effort to allow a second action simply because those persons were not named in the first

suit.” Smith v. Nolan, 648 F. Supp. 972, 975 (N.D. Ill 1986).

        Scatchell was a plaintiff in both the administrative review action and the present case.

Therefore, the third element of claim preclusion is met as to Scatchell. Defendants Melrose Park,

BOFPC, Pitassi, and Castellan were also sued in both actions. Therefore, the third element is also

met as to those Defendants. That leaves Serpico and Caira. Neither were directly named parties

in the state court case. Nonetheless, as discussed below, the privity element is still easily

satisfied.

        First, privity is established because both Serpico and Cairia were Melrose Park

employees and therefore had the same interests as their employer in the termination proceedings.

Garcia, 360 F.3d at 636. Second, in moving to amend his administrative review complaint,

Scatchell alleged that Serpico was behind the “trumped up, ginned up, phony, stupid, and

selectively enforced” termination charges. (Pltf. Motion to Amend, ¶ 1, attached hereto as

Exhibit K). Similarly, in this federal suit, Scatchell alleged that Defendants - which included

Serpico and Caira – conspired to retaliate against him in seeking his termination. (Ex. A, Compl.,

¶ 1). These allegations equate Serpico and Caira’s interests with the other Defendants named in

the prior suit. Finally, Caira was assigned by the charging parties, Pitassi and Castellan, to



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investigate Scatchell’s misconduct. Therefore, he was in privity with them. See Rodriguez, 2007

WL 141910, *3 (holding that police investigator employed by sheriff and assigned to

investigation employee’s misconduct was in privity with sheriff).

       B. Scatchell had a full and fair opportunity to litigate his claims in state court.

       If Scatchell could have joined his present claims with the state court administrative review

case, then he had a full and fair opportunity to litigate those claims under Illinois law. Garcia, 360

F.3d at 639; Girot v. Mun. Officers Electoral Bd. of City of Braidwood, No. 05 C 419, 2006 WL

59393, *6 (N.D. Ill Jan. 5, 2006). Such is the case here. Scatchell was not limited to statutory

administrative review in state court. He could have joined his federal civil rights and other claims

and obtained a decision on those issues at that same time – had he timely done so (which he did

not). Rogers, 58 F.3d at 301. Thus, he had a reasonable opportunity to bring his constitutional and

statutory claims before the state court. See Manley v. City of Chicago, 236 F.3d 392, 397 (7th Cir.

2001) (holding that a police officer appealing a review board’s termination decision to the circuit

court could have joined § 1983 and § 1985 claims); Pirela, 935 F.2d at 913 (state courts are

permitted to hear Title VII claims). While his motion to amend the administrative review suit was

denied as untimely, his failure to avail himself of the full procedures provided by state law “does

not constitute a sign of their inadequacy.” Kremer, 456 U.S. at 485; Lee, 685 F.2d at 202.

       Scatchell chose to pursue an administrative review of the BOFPC’s decision in state court.

Because he followed this route, he had to allege every ground for relief that he had against

Defendants in state court. See Button v. Harden, 814 F.2d 382, 384 (7th Cir. 1987). Having chosen

that forum, it was the only place his present constitutional and statutory claims could have been

raised. See King, 2004 WL 395211 at *5. “To hold otherwise would result in a piecemeal litigation




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by first requiring review of an administrative body’s decision and then entertaining another action

to test the constitutionality of such decision.” Id. (quoting Am. Nat. Bank I, 636 F. Supp at 379).

         The one thing Scatchell was barred from doing – but did -- was to pursue his claims first

in state court to a final judgment and then try again in federal court hoping for a different result.

King, 2004 WL 395211 at *6. He chose to split his causes of action and now “must abide by the

consequences of those choices.” Garcia, 360 F.3d at 644. Accordingly, his present claims are

barred by res judicata.

   II.      SCATCHELL’S FEDERAL SUIT IS BARRED BY ISSUE PRECLUSION

         The doctrine of issue preclusion (also called “collateral estoppel”) bars Scatchell from

relitigating the facts and issues relating to his termination. Issue preclusion “prevents litigants

from relitigating an issue that has already been decided in a previous judgment.” Hayes, 670 F.3d

at 814. Under Illinois law, issue preclusion applies when (1) there is a final judgment in the prior

case; (2) the party against whom estoppel is sought was a party in the previous case; and, (3) the

issue decided in the prior case is identical to the issue presented in the subsequent case. Gottlieb

v. Krozel, Case No. 12 C 3902, 2013 WL 4565431, *5 (N.D. Ill. 4/26/13). Final factual findings

made in an adjudicatory, judicial, or quasi-judicial proceeding preclude litigation of those same

issues in a subsequent proceeding. Id. at *6.

         The elements of issue preclusion are easily met in this case. As previously discussed, the

termination decision is final, Scatchell was a party to that decision, and the same core issue that

he claims here – that he was wrongfully fired from his job – was actually litigated in the prior

case.

         Specifically, the Illinois Appellate Court upheld seven of the eight counts of misconduct

based on the BOFPC’s findings of fact: (1) abuse of sick leave, (2) failure to report contact with



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the DNR officer, (3) making false statements to the DNR officer, (4) conduct unbecoming an

officer, (5) violation of departmental policies by allowing a convicted felon to fire a shotgun, (6)

starting a secondary job without departmental approval, and (7) disobeying a direct order by

unjustifiably asserting a 5th Amendment privilege against testifying at the BOFPC hearing.

(Exhibit I, Scatchell v. BOFPC at ¶¶ 41-83). The Court also affirmed the BOFPC’s finding that

Scatchell’s behavior warranted termination, particularly the egregious offense of lying to the

DNR officer and investigators about whether he saw his fellow hunting partner and convicted

felon, Vito Scavo, fire a shotgun. Id. at ¶¶ 84-94. The Appellate Court concluded that “[t]he

decision to terminate Scatchell was neither unreasonable nor arbitrary, and we believe it was

appropriate considering the nature and scope of Scatchell’s misconduct.” Id. at ¶ 94.

       The Appellate Court also rejected Scatchell’s claim that the Defendants violated the

Uniform Peace Officers Disciplinary Act, 50 ILCS 725/3.8, because the Department relied on an

anonymous tip in opening an investigation. Id. at ¶ 97-99. The Court also rejected Scatchell’s

Fourth Amendment challenge to the propriety of the internal investigation, Id. at ¶¶ 100-102; his

claim that the investigation violated the collective bargaining agreement, id. at ¶ 103; his claim

that the Department violated its own procedures during its investigation, id. at ¶ 104; his claim

that the BOFPC violated the Open Meetings Act, id. at ¶¶ 105-113; and, his claim that the

BOFPC committed procedural errors at the termination hearing in violation of his due process

rights. Id. at ¶¶ 114-125. One of those challenges that the Court rejected related to Scatchell’s

theory that the Department arbitrarily and selectively enforced its policies by treating other

officers more favorably when it came to similar policy violations. Id. at ¶¶ 123-125. Another

failed challenge concerned alleged ex parte communications between Pitassi and Castellan and

the BOFPC which he claimed showed bias and denied him a fair hearing. Id. at ¶¶ 127-129.



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          In this federal suit, like his state court action, he levels a phalanx of claims and theories

as to why he was wrongfully investigated, charged, and fired. He claims retaliation based on his

association with his father (Ex. A, Compl., ¶¶ 20-51), and attacks the investigation into his

misconduct as flawed (Id. at ¶¶ 52-78), the disciplinary charges as manufactured (Id. at ¶¶, 72-

92), and the BOFPC proceedings as tainted and biased. Id. at ¶¶ 93-96. As he did in the state

court case, he dredges up the same allegations of an inequitable disciplinary system within the

Police Department and the BOFPC. Id. at ¶¶ 102-120. He brings constitutional challenges to his

termination under 42 U.S.C. § 1983 and Title VII. Id. at Counts I-III.

          In sum, Scatchell is attempting to relitigate the very issues that were actually decided

against him in the state court action: that was wrongfully or unlawfully investigated, charged,

and fired. The Illinois circuit and appellate court found that he wasn’t, and that decision is final

and conclusive. He simply cannot relitigate those facts and issues no matter how many colorful

conspiracies he manufactures. The doctrine of issue preclusion bars him from doing so. See

Gottlieb, at *6 (applying issue preclusion to federal constitutional or other theories because the

acceptance of those theories would directly conflict with the state court’s final determination that

plaintiff’s termination was lawful).

   III.      SCATCHELL FAILS TO STATE A PLAUSIBLE SECTION 1983 EQUAL
             PROTECTION RETALIATION CLAIM (COUNTS I AND II)

          In Counts I and II, Scatchell brings claims under 42 U.S.C. § 1983 against Melrose Park

pursuant to Monell v. Dept. of Soc. Servs. of City of New York, 436 U.S. 658 (1978) and against

the individual Defendants. The threshold issue in any § 1983 claim, including one brought under

Monell, is whether the plaintiff has established a violation of a constitutional right. See First

Midwest Bank Guardian of LaPorta v. City of Chicago, 988 F.3d 978, 987 (7th Cir. 2021); see,




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also, Sallenger v. City of Springfield, 630 F.3d 499, 504-505 (7th Cir. 2010) (holding that there

where there is no constitutional violation by a municipal employee, there is no Monell liability).

        A.      There is no right to be free from third party retaliation under the Equal
                Protection Clause.

        Scatchell claims a violation of his rights under the Equal Protection Clause of the

Fourteenth Amendment (Compl., Counts I and II). To state an equal protection claim, he must

allege discrimination based on membership in a protected class or a “class of one.” Geinosky v.

City of Chicago, 675 F.3d 743, 747 (7th Cir. 2012). Scatchell brings neither. He is not a member

of any protected class, and a “class of one” theory does not apply to employment claims. See

Engquist v. Oregon Dep’t of Agriculture, 553 U.S. 591, 601 (2012). Instead, he claims that he

was investigated, charged, and fired in retaliation for his association with his father who

allegedly opposed the enforcement of a residency requirement against a black Melrose Park

police officer, Kyle Lavalais.

        There is no general right to be free from retaliation under the Equal Protection Clause.

See Boyd v. Illinois State Police, 384 F.3d 888, 898 (7th Cir. 2004) (alleged retaliation against

plaintiff for participating in litigation is not the same thing as retaliation on the basis of a

protected trait or membership in a particular class); Hallmon v. School Dist. 89, 911 F. Supp.2d

690, 706-707 (N.D. Ill. 2012) (“the Equal Protection Clause does not prohibit state actors from

retaliating against persons who complain of equal protection violations—that is, it does not

contain an anti-retaliation provision analogous to that of Title VII”). Defendants have not found

a single case recognizing that retaliation based on mere familial association with someone who

advocates about racial discrimination states a section 1983 equal protection claim. See

Kristoffersson v. Port Jefferson Union Free School Dist., 2023 WL 6119710, *8 (E.D. N.Y.




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9/18/23) (dismissing section 1983 equal protection claim based merely on race of persons for

whom advocacy is occurring). Counts I and II, therefore, fail to state a plausible claim.

        Scatchell’s reliance on Thompson v. N. Am. Stainless, LP, 562 U.S. 170 (2011) is

misplaced (Compl., Count I, ¶ 145). In Thompson, the plaintiff brought a Title VII claim alleging

that his employer fired him to retaliate against his fiancé (and fellow employee) who had

previously filed a charge of sex discrimination. Citing Title VII’s antiretaliation provision, the

Court recognized a third-party retaliation claim under these circumstances. Id. at 174. Thompson

is inapposite here, however, because it did not involve a Section 1983 equal protection claim.

       Scatchell also cites Zamora v. City of Houston, 798 F.3d 326 (5th Cir. 2015), and Vega v.

Hempstead Union Free School Dist., 801 F.3d 72 (2nd Cir. 2015). Like Thompson, Zamora did

not involve a section 1983 equal protection claim. And, to the extent that Vega did, it is

distinguishable because the plaintiff in that case brought an equal protection discrimination and

retaliation claim based on his own race, not based on a family member’s alleged advocacy for

another’s race.

       B.         There is no actionable retaliation claim given the one-year gap between the
                  father’s alleged advocacy and the investigation into Scatchell’s conduct.

       Scatchell has also pled himself out of court on the issue of causation. Allegations of

causation must be plausible on their face to survive a motion to dismiss. Carmody v. Bd. of

Trustees, 747 F.3d 470, 480 (7th Cir. 2014). At the pleading stage, the Seventh Circuit has

recognized that “a retaliation claim can indeed be so bare bones that a lengthy period between

the protected activity and the alleged retaliation will make any causal connection between the

two implausible. If the best a plaintiff can do is allege that he engaged in protected activity and

then, years later, the employer took an adverse action against him, the claim may not be

permitted to proceed.” Carlson v. CSX Transp., Inc., 758 F.3d 819, 828 (7th Cir. 2014).

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       Here, the investigation relating to Scatchell’s misconduct started on November 13, 2017

(Compl., ¶¶ 60-62). But his father’s advocacy on behalf of Lavalais allegedly took place a year

earlier in November of 2016 (Compl., ¶ 30). Without any explanation for the delay in the

pleading, the one-year time gap does not support a plausible claim as a matter of law. Paluck v.

Gooding Rubber Co., 221 F.3d 1003, 1010 (7th Cir. 2000) (1 year does not establish causation);

Lugo v. Int'l Bhd. of Elec. Workers Loc. 134, 175 F. Supp. 3d 1026, 1038-39 (N.D. Ill.

2016) (holding that the plaintiff's retaliatory termination claim with a one-year gap was

implausible where the plaintiff “provide[d] no evidence of retaliation other than timing”).

Shorter time periods have doomed retaliation claims. See Ghiles v. City of Chicago Heights, No.

12 C 7634, 2016 WL 561897, at *2 (N.D. Ill. Feb. 12, 2016) (dismissing a retaliation claim

because an unexplained six month delay between the protected activity and retaliation was “too

remote” to link the two events and establish causation). Indeed, the Seventh Circuit “typically

allow[s] no more than a few days to elapse between the protected activity and the adverse action”

Kidwell v. Eisenhower, 679 F.3d 957, 966 (7th Cir. 2012).

       Scatchell alleges no facts that explain the one-year gap between his father’s alleged

advocacy and the investigation into his own misconduct. In other words, he alleges no facts

plausibly connecting his father’s activity with the initiation of the department’s investigation

against him. If anything, his allegations undermine such a connection. He alleges that the actual

catalyst for the investigation was the “anonymous letter” that was slipped under Castellan’s door

on November 13, 2017. He alleges no adverse facts or incidents that occurred regarding him in

the preceding year leading up to the letter that triggered the investigation. Therefore, his

allegations do not state a plausible cause of action.




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   IV.      SCATCHELL FAILS TO STATE A PLAUSIBLE TITLE VII
            ASSOCATIONAL DISCRIMINATION CLAIM (COUNT III)

         In Count III, Scatchell brings a Title VII “associational discrimination” claim against

Melrose Park. Title VII prohibits an employer from “discriminat[ing] against any individual with

respect to his compensation, terms, conditions, or privileges of employment[ ] because of such

individual's race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1). Scatchell

doesn’t allege that he was subjected to discrimination based on his race, color, religion, sex, or

national origin. Rather, he alleges that he was subjected to a hostile work environment based on

his association with his father (Ex. A, Compl., Count III, ¶ 163).

         While the Seventh Circuit has recognized that a person who is subjected to employment

discrimination based on his association with a person of a protected class can bring a Title VII

claim, See Hively v. Ivy Tech Comm. College of Indiana, 853 F.3d 339, 347 (7th Cir. 2017), that

is not Scatchell’s claim here. Neither he nor his father are members of a protected class.

Nowhere does he allege that he was subjected to a hostile work environment because of his

association with a person of a protected class. Rather, his claim is based on his father’s advocacy

on behalf of Lavalais. Defendants have not found a single case that has recognized an

associational discrimination claim under these circumstances.

   V.       SCATCHELL FAILS TO STATE A PLAUSIBLE CLAIM UNDER COBRA
            (COUNT IV)

         In Count IV, Scatchell alleges that Melrose Park failed to provide him with the required

notice of his rights, and later improperly rescinded his rights, under the Consolidated Omnibus

Budget Reconciliation Act, 29 U.S.C. §§ 1161-1168 (“COBRA”) (Ex. A, Compl., Count IV, ¶¶

171-172). He alleges that he incurred $6,000 in medical expenses Id. at ¶ 173.




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       At the onset, the correct statute governing the continuation of benefits under group health

plans offered by local government employers is the Public Health Services Act (“PHSA”), 42

U.S.C. §§ 300bb–1 through 300bb-8. See Johnson v. City of Kewanee, Case No. 21 CV 04051,

2023 WL 8091963, *3 (C.D. Ill. 11/21/23). Under PHSA, local government employers must

offer 18 months of continuing coverage to qualified beneficiaries who otherwise would lose

coverage as a result of a “qualifying event.” 42 U.S.C. §§ 300bb–1(a), 300bb–2(2). An employer

must notify the plan administrator of the occurrence of a qualifying event, an administrator must

then notify the qualified beneficiary of the right to elect continuation coverage, and a plan must

provide that coverage if elected. Mlsna v. Unitel Commc'ns, Inc., 41 F.3d 1124, 1128–29 (7th

Cir. 1994). The PHSA defines the term “qualifying event” to include “termination (other than by

reason of [the] employee's gross misconduct).” §300bb–3(2). In other words, a termination based

on the employee's “gross misconduct” is not a qualifying event that triggers continuing health

care coverage, or the need to provide notice of such rights.

       Neither PHSA nor COBRA provide a definition for “gross misconduct.” Thus, the courts

“look to federal case law and state law for guidance.” Johnson, 2023 WL 8091963, at 6.

Conduct that is “outrageous, extreme or unconscionable” qualifies while behavior that is

“inadvertent or sporadic” or mere “negligence or incompetence” does not. Id. at *6-7. In

Johnson, Judge Darrow recently looked to Illinois unemployment law for guidance. Id. Under

Illinois law, an employee can be denied unemployment benefits if his misconduct amounts to a

“deliberate and willful violation of a reasonable rule or policy of the employing unit, governing

the individual's behavior in performance of his work, provided such violation has harmed the

employing unit or other employees or has been repeated by the individual despite a warning or




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other explicit instruction from the employing unit.” Id. at 7 (citing, Burke v. Am. Stores Emp.

Ben. Plan, 818 F. Supp. 1131, 1135 (N.D. Ill. 1993).

       Scatchell’s behavior easily meets the gross misconduct standard. He assisted a known

convicted felon in the possession and firing of a firearm, lied to law enforcement and his own

employer, and disobeyed a direct order. He deliberatively and intentionally violated multiple

departmental policies and engaged in behavior that was conduct unbecoming a police officer.

Indeed, in affirming his termination, the Illinois Appellate Court called his conduct egregious

and devoid of “integrity, honesty, and trustworthiness.” (Ex. I, Scatchell v. Bd. of Fire and Police

Commissioners, et al., 2022 IL App (1st) 201361, ¶¶ 90-91). The Court also found “the nature of

his false statements … extremely concerning” and that, as a police officer sworn to uphold the

law, he “acted in an irresponsible and dishonest manner.” Id. at 92 (citing, Sindermann v. Civil

Service Comm’n of Gurnee, 275 Ill. App. 3d 917, 929 (1995)).

       While he alleges in one paragraph of his Federal Complaint that Melrose Park failed to

provide notice of his COBRA rights, he later conceded that Defendant extended then improperly

rescinded them. (Ex. A, Compl., ¶¶ 171-172). It appears, therefore, that his real qualm is the

recission. In this regard, Mlsna v. United Communications, 41 F. 3d (7th Cir. 1996), 1124, 1128

offers dispositive guidance, “An employee could quit his job and his employer could later

discover facts leading it to change the employee's departure status to termination for gross

misconduct … it would be strange for an employee to have the power to preempt his employer's

decision to terminate him for gross misconduct. See, also, Karby v. Standard Products Co.,7

Ind.Empl.Rts.Cases (BNA) 1235, 1992 WL 333931 (D.S.C.1992) (accepting a change of

departure status to termination for gross misconduct in light of facts discovered after employee




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had left the company).” Count IV, therefore, fails to state a plausible claim and should be

dismissed.

    VI.      SCATCHELL FAILS TO STATE A PLAUSIBLE CLAIM FOR INTRUSION
             UPON SECLUSION (COUNT V)

          In Count V, Scatchell brings a state law claim for “intrusion upon seclusion” against the

individual Defendants. He alleges that his private information was knowingly disclosed to

Defendant Caira and others (Ex. A, Compl., Count V, ¶¶ 175-182). He claims that the disclosure

caused “unauthorized credit card transactions, damages, anguish, and suffering.” Id. at ¶ 183.

          Under Illinois law, there are four theories that underlie the tort of invasion of privacy:

intrusion upon seclusion, appropriation of a person's name or likeness, publicity given to private

life, and publicity placing a person in a false light. Pucillo v. Nat'l Credit Sys., Inc., 66 F.4th 634,

639–40 (7th Cir. 2023). “Intrusion upon seclusion “occurs when a person ‘intrudes ... upon the

solitude or seclusion of another or his private affairs or concerns’ and this ‘intrusion would be

highly offensive to a reasonable person.’” Id. It is plaintiff’s burden to tie the type of injury to the

comparable theory that applies. Persinger v. Sw. Credit Sys., L.P., 20 F.4th 1184 1192 (7th Cir.

2021) (reasoning that plaintiff’s alleged harm must resemble “the harm associated with intrusion

upon seclusion.”). But the act of prying itself must cause the harm; plaintiffs who allege that the

publication of private information caused their harm “plead[s] themselves out of court.” Roper v.

Rise Interactive Media & Analytics, LLC, 2023 WL 7410641, at 7 (N.D. Ill. 2023) (quoting

Angelo v. Moriarty, 2016 WL 640525, at 5 (N.D. Ill. 2016)); see also Karraker v. Rent-A-Center,

Inc., 239 F. Supp. 2d 828, 838 (C.D. Ill. 2003) (“The key distinction of this privacy tort is that

the injury stems from the intrusion itself and not from any publication.”).

          Scatchell’s claim is foreclosed because he claims that release or publication to third

parties caused him harm. (Ex. A, Compl. ¶ 180). He does not allege that his damages result from

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the intrusion. Furthermore, he grossly mischaracterizes the collection of his personal

information by positing that he was “compelled to disclose” his personal information” to

Defendants as part of his employment. Dkt. 1-1 at 43. What he means is the voluntary and

required disclosure of information that is required for employment at the Melrose Park Police

Department. In other words, no unauthorized action occurred because he consented to the

collection of his information. While he may feel that the publication of his information was

highly offensive, he has not carried his burden at this stage to plead that the intrusion—that is,

the collection of his information for employment—was highly offensive. Given the affirmance of

his termination, he cannot seriously challenge that Defendants legitimately obtained the

information to pursue their investigation of his misconduct. The acquisition, in other words, was

in furtherance of a valid police investigation.

        Finally, he injects a litany of conclusory allegations regarding personal information of his

family and friends. This Court should disregard these allegations as they are no more than

formulaic conclusions, and therefore not entitled to the assumption of truth. Iqbal, 556 U.S. at

679. Even more so, he has not established how he has standing to allege injuries on behalf of

parties that are not privy to, or related to, the core of his complaint. TransUnion, 141 S. Ct. at

2210.

   VII.    SCATCHELL FAILS TO STATE A PLAUSIBLE CLAIM UNDER THE
           DRIVER’S PRIVACY PROTECTION ACT (“DPPA”) (COUNT VI)

        In Count VI, Scatchell alleges that Defendants Melrose Park and Caira knowingly

obtained and disclosed his protected personal information from a motor vehicle record in

violation of the Driver’s Privacy Protection Act (“DPPA”), 18 U.S.C. § 2722(a), (b) (Ex. A,

Compl., Count VI, §§ 185-188). The DPPA prohibits a state’s Department of Motor Vehicles

(“DMV”) from disclosing personal information in a motor vehicle record except for uses

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explicitly enumerated in the statute. See 18 U.S.C. § 2721(a)-(b). “Personal information” is

defined as “information that identifies an individual, including an individual's photograph, social

security number, driver identification number, name, address (but not the 5–digit zip code),

telephone number, and medical or disability information.” Id. §2725(3).

       However, personal information in a motor vehicle record may be disclosed by a DMV

for, among other permissible uses, “use by any government agency, including any court or law

enforcement agency, in carrying out its functions,” or for use by a private person acting on behalf

of a government agency in carrying out its functions. Id. §2721(b)(1). Personal information may

also be disclosed by a DMV “[f]or use in connection with any civil, criminal, administrative, or

arbitral proceeding” or for “investigation in anticipation of litigation.” Id. §2721(b)(4).

       Here, Scatchell was the subject of a police investigation, administrative-board

investigation, and all investigative findings were affirmed by the Illinois Appellate Court. In

other words, Scatchell’s information was obtained from a lawful source for lawful and

permissible purposes. Dahlstrom v. Sun-Times Media, LLC, 777 F.3d 937, 949–50 (7th Cir.

2015). The Seventh Circuit noted that the DPPA was passed predominantly as a public safety

measure and “[n]ot surprisingly, the Act's expanded authority for law enforcement was an

important part of the same narrative.” Senne v. Vill of Palatine, Ill., 695 F.3d 597, 605 (7th Cir.

2012). The Court further noted, however, that in the Congressional records, Senator Harkin

qualified that the exception for law enforcement use “‘is not a gaping loophole in this law.’” Id.

(quoting 139 Cong. Rec. S15,962 (daily ed. Nov. 17, 1993) (statement of Sen. Harkin)). Rather,

the exception “‘provides law enforcement agencies with latitude in receiving and disseminating

this personal information,’ when it is done ‘for the purpose of deterring or preventing crime or

other legitimate law enforcement functions.” Id. at 608 (quoting 139 Cong. Rec. S15,962 (daily



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ed. Nov. 17, 1993) (statement of Sen. Harkin)) (emphasis in original). Thus, “[g]iven the concern

of Congress for these safety and security issues, the disclosed information actually must be used

for the purpose stated in the exception.” Id. at 609. Accordingly, Caira’s investigation, and the

BOFPC’s hearing, easily qualify as permissible access to and disclosure of information gained

from the DMV.

        Finally, here again, Scatchell injects a litany of conclusory allegations, devoid of any

facts, regarding personal information of his family and friends. This Court should disregard these

allegations as they are no more than conclusions, and therefore not entitled to the assumption of

truth. Iqbal, 556 U.S. at 679. Even more so, Scatchell has not established how he has standing to

allege injuries on behalf of parties that are not privy to, or related to, the core of his complaint.

TransUnion LLC v. Ramirez, 141 S. Ct. at 2210. Regarding statutory harms, it is not enough to

allege a defendant violated the statute; “[o]nly those plaintiffs who have been concretely harmed

by a defendant’s statutory violation” will have standing. TransUnion, 141 S. Ct. at 2205.

    VIII. SCATCHELL FAILS TO STATE A PLAUSIBLE CLAIM UNDER THE
          ILLINOIS WAGE PAYMENT AND COLLECTION ACT (COUNT VII)

        In Count VII, Satchell claims that he was not paid for unused vacation, sick and

compensatory time in violation of the Illinois Wage Payment and Collection Act (820 ILCS

115/1 et seq. (Ex. A, Compl., Count VII, ¶¶ 98(c), 189-196), yet there are no factual allegations

in the Complaint showing how he would have been entitled to 2019 vacation when he was

discharged in December 2018, or how he was eligible to be paid for unused sick or comp time.

        The IWPCA “provide[s] employees with a cause of action against employers for the

timely and complete payment of earned wages or final compensation, without retaliation from

employers.” Costello v. BeavEx, Inc., 810 F.3d 1045, 1050 (7th Cir. 2016) (quoting Byung Moo

Soh v. Target Mktg. Sys., Inc., 817 N.E.2d 1105, 1107 (Ill. App. Ct. 2004) Under the IWPCA, a

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plaintiff must prove “that: (1) the defendant was an employer as defined in the Wage Payment

Act; (2) the parties entered into an employment contract or agreement; and (3) the plaintiff was

due final compensation.” Bradley v. Vill. of Univ. Park, Illinois, 59 F.4th 887, 903–04 (7th Cir.

2023). The IWPCA defines “wages” as “compensation owed an employee by an employer

pursuant to an employment contract or agreement between the 2 parties.” Chagoya v. City of

Chicago, 992 F.3d 607, 624 (7th Cir. 2021) (quoting 820 ILCS 115/2).

       An “employment agreement need not be a formally negotiated contract” and “can be

entirely implicit.” Id. at 624–25 (quoting Landers-Scelfo v. Corp. Off. Sys., Inc., 827 N.E.2d

1051, 1058–59 (Ill. App. Ct. 2005)). Nor must a plaintiff “plead all contract elements if [he] can

plead facts showing mutual assent to terms that support the recovery.” Id. at 624 (quoting

Landers, 827 N.E.2d at 1059); see also Bradley v. Village of University Park, 59 F.4th 887, 903

(7th Cir. 2023) (explaining that an “agreement” under the IWPCA “requires only a manifestation

of mutual assent ... without the formalities and accompanying legal protections of a contract”

(quoting Catania v. Loc. 4250/5050 of the Commc'ns Workers of Am., 834 N.E.2d 966, 972 (Ill.

App. Ct. 2005))). Yet, “the IWPCA holds the employer only to its promise under the

employment agreement.” Chagoya, 992 F.3d at 624 (citing Enger, 812 F.3d at 570). Further, an

employer's promise is not actionable unless it is “unequivocal.” Schultze v. ABN AMRO, Inc., 83

N.E.3d 1053, 1059–60 (Ill. App. Ct. 2017).

       Scatchell alleges that “[t]he CBA [Collective Bargaining Agreement] and past practices

constitute an agreement to pay [him] wages as that term is defined under the [IWPCA]” (Ex. A,

Compl., ¶¶ 190, 196). Scatchell has offered no factual details regarding either the CBA or past

practices. Loos v. Cnty. of Perry, Illinois, No. 3:20-CV-1107-MAB, 2023 WL 6382364, at 23–24

(S.D. Ill. 2023) (“Thus, to state a claim under the IWPCA, the employee is required to



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demonstrate the employment contract, agreement, or policy that governed their employment

provided for paid vacation.”); Chagoya, 992 F.3d at 625 (“Here, the record is also devoid of any

implicit agreement between the parties or of any acquiescence by the City that operators would

be compensated for the activities at issue.”). Thus, Scatchell has failed to allege sufficient facts

to survive a motion to dismiss under Iqbal’s pleading standards.

         Without an employment agreement, Plaintiff must plausibly allege mutual assent that

gave rise to an implicit agreement under IWPCA. But, here too, Plaintiff was required to “plead

facts showing mutual assent to terms that support the recovery.” Das v. Tata Consultancy Servs.,

Ltd., No. 22 C 6988, 2023 WL 7130423, at *4 (N.D. Ill. 2023) (collecting cases); Bradley, 59

F.4th at 903–04 (dismissing an IWCPA claim because Plaintiff “could not demonstrate the

mutual assent necessary to prove a claim under the Wage Payment and Collection Act.”). All

that Scatchell offered was one vague phrase, “[t]he CBA and past practices.” In other words,

Plaintiff has not “pointed to any unequivocal promise” and has therefore failed to state a

plausible IWPCA claim. Das, 2023 WL 7130423, at 4; Loos, 2023 WL 6382364, at 23–24

(“Simply put, there is no contract, no collective bargaining agreement, no handbook, and no oral

representations from Judge Campanella regarding earned time off. Nor is there any evidence as

to the basic rules of Loos’ alleged earned vacation time, such as the rules for accrual, use, and

carryover.”).

   IX.      ABSENT A PLAUSIBLE CLAIM AGAINST THE INDIVIDUAL
            DEFENDANTS, THE INDEMNIFICATION COUNT SHOULD BE
            DISMISSED (COUNT VIII)

         In Count VIII, Scatchell sues Melrose Park for indemnification pursuant to 745 ILCS

   10/9-102. Absent a plausible claim against the individual Defendants, however, Melrose Park




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   would incur no indemnification obligation and therefore should be dismissed. See Karalyos

   v. Bd. of Educ., 788 F. Supp. 2d 727, 734 (N.D. Ill. 2011).

                                        CONCLUSION

       For the foregoing reasons, Plaintiff’s Complaint should be dismissed.


Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN A. SCATCHELL,                                   )
                                                     )
                              Plaintiff,             )
                      v.                             )       Case No: 20 CV 1045
                                                     )
VILLAGE OF MELROSE PARK, an Illinois                 )       Honorable Gary Feinerman
Municipal Corporation, MELROSE PARK BD               )
OF FIRE AND POLICE COMM’N, RONALD                    )
SERPICO, SAM PITASSI, MICHAEL                        )
CASTELLAN, PETER CAIRA,                              )
                                                     )
                              Defendants.            )


                                CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2023, I electronically filed the foregoing
Defendants’ Memorandum of Law in Support of its Joint Motion to Dismiss, with the Clerk of
the U.S. District Court for the Northern District of Illinois using the CM/ECF system, which will
send notice to:

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